Case 3:17-cv-00072-NKM-JCH Document 1119 Filed 09/27/21 Pagelof3 Pageid#: 18305

LERK'S OFFICE U.S. DIST. COURT
IN THE UNITED STATES DISTRICT COURT FOR THE AT CHARLOTTESVILE, VA

FILED

WESTERN DITRICT OF VIRGINIA

SEP 27 202!

Charlottesville Division
Elizabeth Sines, et ai

Plaintiffs

 

v Case No: 3:27-cv-072-NKM

Jason Kessler, et 21

aaa eee eee

Defendants

MOTION IN LIMINE AND NOTICE OF INTENT TO INTRODUCE STATEMENT

AGAINST INTEREST OF UNAVAILABLE WITNESS DWAYNE DIXON PURSUANT TO
FED.R.EVID. 804(b)(3) AND 807

eae eee Se ee ee 2 ee ee ee ee eee oy ey oe oe ee ee a ee ee a ee

Comes Now the Defendant, Christopher Cantwell, and, he Moves this Court
In Limine and gives Notice of Intent To Introduce the Statement Against
Interst Of Unavailable Witness Dwayne Dixon Pursuant To Fed.R.Evid.

804(b)(3) and 807. In support, he states as follows:

1) Dwayne Dixon is the leader of the Antifa domestic terrorism affil-
jate Redneck Revolt. Attached is a transcript of a video statement
Dixon published which states:

“So, dames Fields, driving his charger, slow rolled our western
perimeter, so, that was 4thstreet, several times. One time he
paused right in front of me, and, I waved him off with my rifle.

-In his last pass, he acceterated, and, a block away, he killed

Heather."

2) This statement is material to this case and probative of several
key facts. One, Dixon describes himself as being part of "our west-
ern perimeter", which associates him with the armed vigilante terror

mob that the Plaintiffs were materially supporting at the time that

they were struck by Fields' car. Two, Dixon describes "wavLing]

~l-
 

Case 3:17-cv-00072-NKM-JCH Document 1119 Filed 09/27/21 Page 2of3 Pageid#: 18306

3)

4)

5)

[Fields] off with my riflé", which implies that not only was he
carrying a rifle in Virginia, which is legal, but, that he was
brandishing it, which was not. And, Dixon places this action right
before Fields‘ car acctdent, which supports the argument that Fields
responded to being attacked and threatened at gunpoint by an armed
mob, much like the defendants in Griffin v Breckenridge--403 US 88
(1971) were threatened by the Ku Klux Klan, rather than "attacked"

the Plaintiffs as part of a "conspiracy”.

Cantwell is currently trying to locate Dixon to subpoena him. How-
ever, Cantwell: anticipates that, even if he can locate Dixon, Dixon
will resist service, not appear, or, invoke the Fifth Amendment,
ali of which would make Dixon an unavailable witness. Cantwell
also hereby gives Plaintiffs and al? parties notice of his intent

to introduce this video and the attached transcript pursuant to

Fed. R.Evid. 807({b).

Because Cantwell anticipates that this will be a material statement
against interest from an unavailable witness, he moves the Court

to permit him to introduce it as evidence pursuant to Fed.R.Evid.
804(b)(3)(A). Dixon's admission to the crime of brandishing if not
aggravated assault with a firearm certainly exposes him to.both
civil and criminal liability, civil liability for contributory neg-~
ligence tn the Plaintiff's injuries from Fields’ car accident, and,
criminal liability for brandishing and aggravated assault. That
makes it against interest and admissible if Dixon cannot be brought

to Court to testify.

Further, Cantwell would also like to admit this hearsay pursuant to
Fad.R.Civ.P. 807(a), as the authenticity and trustworthiness of this

video is not really in question, it is offered in support of a mat-

=2-
Case 3:17-cv-00072-NKM-JCH Document 1119 Filed 09/27/21 Page 3o0f3 Pageid#: 18307
erial fact, and, particularly given Cantwell's limited resources
and imprisonment, it is more probative of Dixon's role in inciting
Fields‘ car accident than any other evidence Cantwell can obtain.
Cantwell does have evidence of other mob violence directed against
Fields prior to. his car accident, but, that involves striking Fields'
car with a baseball bat. Here, the use of a firearm by a member
of the Plaintiff's mob, and, an assault rifle at that, underscores
in the mind of the jury that the Plaintiffs were not engaged in a
peaceful protest, but, in an armed criminal action directed against
bothiFields and the peace of their fellow residents of Charlottes-
ville. It also shows: that Fields’ car accident was incited by the

mob and not a premeditated attack on that mob or part of a conspir-

acy.

Thus, Cantwell asks this Court to rule in Timine that the Dixon video

is admissible if Dixon cannot be brought to testify.

Respectfully Submitted,

[|

Chris er Cantwel]
USP-Marion

PO Box 1000

Marion, IL 62959

  

 

   

CERTIFICATE OF SERVICE

I hereby certify that this Motion in Limine was mailed to the Clerk

of the Court,.1st Class Postage prepaid, for posting upon the electronic
filing system, to which ati parties are subscribed, and, handed to USP-
Marion staff members Nathan Simpkins and/or Kathy Hilt for electronic

transfer to the Court,this 27th day of September, 202].

CE —

Christopher Cantwell
